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FEDERAL TRADE COMIVIISSION, and

OI"FICE OF THE ATTORNEY GENERAL,
STATE OF FLORIDA, DEPARTMENT OF
LEGAL AFFAIRS,

Plalntiff¢,
Case No. 6: l 6-cv-00982-CEM-TBS
vs.

LIFF. MANAGEMENT sF.vacms c`)r
owen covN'rY, LLC, a norma limited
liability com pany, el al.,

 

Defendm¢!.

STIFULATED PRELIMINARY lNJUNCTION AS 1`0 DEFENDANTS
KEVIN W TlMO

'I'his matter comes before the -Co\nt upon agreement of the Plaintiffs, the Fedcral
Trade Commission (“I~"I`C") and the Office of the Attomey General, State of Florida,
Department of Legal Af!`alrs (“State of Florida"), Defendant Kevin W. Guioe, and Relief
Defendants Robert Guice and Timothy Woods`(collectivc|y, "Stipulating Defendants") for
the army of a Pre|iminary injunction against Stipu\atlng Defendants.

On June 7, 2016, Plaintiffs filed their Complaint for Pemianent lnjunction and Other
Equitable Rolief (“Complaint”), pursuant w Seotion l3(b) of the Fedeca| Trade Commission
Ac¢ (“F'rc Aoe'), \s_ u.s.c. § sacb), cho T¢lomark¢¢ing md consumer mud and mm
Prevention Aot ("I`elcmad<eting Act”), 15 U.S.C. §§ 6101-6108, and the Florid¢ Dcceptive
and Unfair Trade Practices A‘ct (“FDUTPA"), Ch¢pter 501, Pan Il, F}orida Smtutes (20|5)

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(Dkt. l), and moved ex parte, pursuant to Federal Rule of Civil Procedurc 65(b), for a
Temporary Restraining Order, Asset Freeze, ‘Appointment of a Tempomry Receiver,
Immediate Acooss, Othor Equitable Rolief, and an Order to Show Cause Why a Preliminary
[njunction Should Not lssue (Dkt. ll). The Court. having considered the Complainf,
Plaintlffs' motion for a Temporery Rostraining Order, and the memorande and exhibits
filed in support thereof, issued a Temporary Restraining Order against all Defendan\s,
. including the Stipulating Defendants on June 8, 2016. (Dkt. 36).

Plaintiffs and Stipulating Defendants, acting by and through their counsel, have

consented to entry of this Order, to remain in en'ect until the final resolution of this matter

until further order of this Court. The Coutt finds that:
I. me~c:s

A. This Court has jurisdiction over the subject matter of this ease, and jurisdiction over
ell Stipulating Defendants, and venue in this district is proper,

B. 'I'hete is good cause to believe that Defendant Kevin Guice has engaged in, and in the
future is likely to engage in acts and practices that violate Section $(a) of the FI`C
A¢t, 15 u.s.c. §45(3); me Frc’s mae regulation nunc ensued ute “'relenianmung
Sales Rule" (“TSR"), 16 C.F.R. Part 310; and FDUTPA, and that Plaintiffs are
therefore likely to prevail on the merits of this action;

C. There is good cause to believe that immediate and inoperable harm will result from
Defendant K.evin Guice’s ongoing violations of the F'I`C Act, the TSR, and Section
50l.204 of the FDUTPA unless Defendent Kevin Guice is restrained and enjoined by
O\'der ofthis Court;

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D. There is good cause to believe that Stipulating Defendants Robert Guice and rimotl'u¢
Wo_ods have received funds that can be traced directly to Defendants‘ deceptive acts
or practices and that they have no legitimate claim to those funds;

E 'l`here is good cause to believe that immediate and irreparable damage to this Court’s
ability to grant effective final relief for consumers (including monetary restitution
rexcission, disgorgement or refunds) will.occur from the sale, transfer, destruction, or
other disposition or concealment by Stipulating Defendants unless Stipulating
Defcndants are immediately restrained and enioined by Order of this Court. There is
thus good cause for an asset fi'eeze.

I~`. Weighing the_ equities and considering Plaintit’fs’ likelihood of ultimate success on
the merits, it is in the public interest that the Court enter an ex parte Preliminery
Injunction;

G. No security is required of any agency of the United States for issuance of a
preliminary injunction Fed. R. Civ. P. 65(¢). Por the reasons stated in the Staee of
Florlda's motion for a waiver of the security requirement the Stete of I-'lorida is not
required as a co-Plaintiff with the FTC to give security before the issuance of this
preliminary injunction (Dkt. 35); and,

l'-i. Notvdthstanding the foregoing nothing in this Stipulated Preliminary injunction shall
be deemed an admission to any of the allegations of the Compleint, the Findings
herein (with the exception of subsection A), or as a waiver of any of Stipulating

Defendants’ rights or legal privileges

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Il. DEFIN!TIDNS

For the purpose of this Ternporary Restraining order (“Ordor"), the following
definitions shall apply:

A “Corporate Defendauta” means Life Management Services of Orange County,
LDC, Loyal Fiuancial & Credit Scrvioes. LLC, lVD Recovery, LLC, KWP Servioes,
LLC, KWP Services of Florida LLC, LPSofFLA LLC, LPSofFlorida L.L.C., PW&F
Consultants ot' Florida LLC, UAD Secure Service of FL LLC, UAD Secure Services
LLC, URB Management, LLC, YCC Solutions LLC, and VFP Solutions LLC, and
their divisions, subsidiaries affiliates predecessors successors and assigns, and any
fictitious business entities or business names created or used by these entities, or any
ofthem.

B. “Debt-Relief Product or Service" means any product, service plan, or program
represented, expressly or by implication, to renogotiate, settle, or in any way alter the
terms of payment or other terms ofthc debt or obligatth between a Person and one or
more creditors or debt collectors, including a reduction in the balance, interest rate, or
fees owed by a Person to a creditor or debt eollector.

C. “Det'endants” means all of the lndividual Defcndanrs and Corporate Deiendanm,
individm.lly, collectively, or in any combination, and each of them by whatever
names each might be known.

D. “Indivldual Detendants” means Kevin W. Guice, Chase P. lackowski, Linda N.
MeNealy, Ciarence H. Wahl, and Karen M. Wahl, and by whatever other names each

may be known.

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E. “National ~ Do Not Coll Roglstry” means the registry of telephone numbers
maintained by the F'i`C, pursuant to Section 310.4(b)(1)(iii)(B) of the TSR, 16
C.F.R. § 3 lO.4(b)(l)(ii1)(B), of Perxons who do not wish to receive Oucbound
'l"elephone Calls m induce the purchase of goods or services.

F. “Ontbonnd 'l'elephone Call” means a telephone call initiuoed by a Tclemarkcwr to
indiree the purchase of goods or services or to solicit a charitable contribution

G. “Persou” means a natural person, organization, or other legal entity, including a
corporation, partnership, proprietorship association eooperative, govemmont or
governmental subdivision or agency, or any other group or'cornbination acting as an
entity.

H. “chelver” means the individual appointed as temporary receiver by the Court on
J\me 8, 2016, and any deputy receivers that shall be named by the temporary receivcr.
"Receiver” shall also mean any permanent receiver appointed by the Court, and any
deputy receiver that shall be named by the permanent receiver

I. “§ouef Defendants” means Robcit Guice and Timothy Woods.

J. “Representatives” means Defendants’ officers, agents, employees, momeys, or any
other Person in active concert or participation with any of them who receive actual
notice of this Order.

K. “Telemarkoter” means any Person who, in connection with Telcmarkcting, initiates
or receives telephone calls to or from a customer or donor.

L. “Telemarketing" means any plan, program, or campaign that is conducted to induce

the purchase of goods or services or a charitable contribution by use of one or more

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telephonesl
IlI. PROHIB!TBD Bvsmsss Acrrvmzs

It is hereby ORDERED that Stipulating Defendants and Stipulating Defendants’
Reprcsentetives, whether acting directly or indirectly, in connection with promoting or
offering for sale any good or service, including any Debt-Reliet‘ Produet or Service, are
restrained and enjoined from:

A. Misrepresenting, or assisting others in misrepresenting expressly or by implication
any of the following:

l. That consumers who use Defendants’ services will have their credit-cmi

interest rates reduced substantially and pennanontly;

2. That consumers who use Defendents' services will save thousands of dollars

in a short time;

3. 'l`hs.t consumers who usc Defendants' services will be able to psy off their

credit-card debts much faster, typically three to five times fasten

4, That Defendants can obtain money from a government fund, paid for by

credit-card companies, that Dofendants will use to pay off consumers credit-
card debts within 18 months;

S. 'I`hat Defendan\s are representatives of, or otherwise affiliated wioh,

consumers' banks or other credit-card issuers, or credit-card associations such
as MasterCard and Vise.; or

6. Any other fact material to consumers concerning any good or servico, such asc

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the total ccst; any material restrictions, limitations or couditions; or any
material aspect of the benefits, performance efficacy, nature, or central
characteristics of the good or scrvice;

B. Reptosenting, or assisting others in representing expressly or by implication, the
benefits, performance efficacy, nature or central characteristic cf any good or
service, unless the representation is true, and. at the time such representation is made,
Defendants possess and rely upon competent and reliable evidence to substantiate that
the representation ls true; and

C. Failing to disclose, or disclose adequately, the material tenns and conditions of
Defendants' offer, including that Defendants’ services may result in a consumer
having to pay a variety of fees to credit~card issuers including, among othcrs,

balance-transfer fees.
lV. Pnomon'tons REcAamNo TELEMARKF.TING

lt is FURTHER ORDERED that Stipulating Defendants and Stipulating
Defcndents‘ Representatives, whether acting directly or indirectly, in connection with
Tclemarketing of any product or service, including any cht-Rellef product or Service, are
restrained and enjoined from:
A. initiating or causing others to initiate, an Outbound Te|ephone Call:
l, That‘misrepresents, directly or by duplication any material aspect of any
Debt-Kelief Product or Service, including the amount of money or the

percentage of the debt amount that a consumer may save by using such

 

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service and the amount of time necessary to achieve the represented results;

2. That misrepresents, directly or by implication, an aPHliation with eonsumers’
banks or other oredit»card issuers, or credit-card associations such as
MasterCerd and Visa;

3. That fails to disclose, In a clear and conspicuous manner, that any Debt~Relief
Product or Service might result in a consumer having to pay additional fees to
e credit-card issuer;

4. That fails to disclose that any Debt~Relief Produet or Sezvice that relies upon
a consumer’s failure to make timely payments to creditors or debt collectors,
will likely adversely affect the consumers eredinvorthlness,' may result in the
consumer being subject to collections or sued by creditors or debt collectors,
and may increase the amount of money the consumer owes due to the accrual
of fees and lnrerest;

S. 'I`o a Person whose telephone number is on the National Do Not Ce.|l Registry;

6. That delivers a unrecorded message; or

7. To a telephone number within a given area code when Defendents have not,
either directly or through another Person, paid the required annual fee for
access to the telephone numbers within that area code that are included on the
National Do Not Call Registry;

B. Requesting or receiving payment of' any fee or consideration from a consumer for any

Debt»Relief Products or Services until md unless Defendants have renegotiated,

settled, reduced, or otherwise altered the terms of at least one debt pursuant to a

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settlement agreement debt management plan, or other such valid contractual
agreement executed by the consumer and the consumer has made at least one
payment pursuant to that settlement agreement debt management plan, or other valid

continental agreement between the consumer and the creditor or debt collector.
v. Assl:'r Far:r.za

lt is FURTHER ORDERED that Stipulating Dcfendants, and their Represcnurtives,
whether acting directly or indirectly, are restrained and enioined from:

A. Transt`erring, liquidating converting, encumbering pledging, loaning, selling.
concealing dissipating, disbursing, assigning, rciinquishing, spending, withdrawing
granting a lien or security interest or other interest in, or otherwise disposing any
funds. real or personal property, accounts, contracts shares of stock, lists of consumer
names, or other assets, or any interest therein, wherever iocated, including outside the
United States, that arc: owned,` controlled, or heid, in whole or in part, by any
Dei`endant or Reliet`Defendant;

i. held, in whole or in part for the director indirect benefit of, any Defendant or
Relief Defendant;
2. in the actual or constructive possession of any Defcndant or Relief Defendanr;
3. held by an agent of any Defcndarrt or Relief Det`endant as a retainer for the
agem’s provision of services to Defendants or Relief Det`endants;
'4. owned or controlled by, or in the actual or constructive possession of, or
otherwise held for the benefit ot`, any corporation, pard\ership, asset protection

trust, or other entity that is directly or indirectly owned, managed, or

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controlled by any Det'endant or Relief Defendant, or of which any Defendant
or Reliet` Defendant is an oBleer, director, manager, or member. This
includes, but is not limited to, any assets held by, for, or subject to access by,
any Defcndant or Relief Det`endant at any bank, credit union, or savings and
loan institution, or at/with any broker-dealer, retirement fund custodian,
money'market or mutual fund, trustee, escrow agent title company,. insurance
company, commodity trading company, precious metal dealer, payment
ptoccssor, credit card processor, acquiring bank, merchant bank, independent
sales organization third party processor, payment gateway, automated
clearing house processor, network transaction processor, bank debit
processing agent, or other financial institution or depository of any kind,
either within or outside the Unitcd Stax¢s; or

S. held in any account for which any Defendant or Rclief Dcfendant is. or was
on the date that the TRO was signed, an authorized signer;

B. Opening or causing to be opened any safe deposit boxes, commercial mail boxes, or
storage facilities titled in the name of any Defcndant cr Relief Defendant, either
individually orjoint|y, or subject to access by, or under the control of, any Defendant
or Relief Defcndant unless otherwise directed by the Receiver;

C. Incurring liens or other encumbrances on rea|»property, personal property. or other
assets in the name, individually or jointly, of any Defendanr or ReliefDefmdant or of
any eorporation, partnership, ar other entity directly or indirectly owned, managed, or

controlled by any Defendant or Iteiief Defendant;

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D. lncurring charges or cash advances on any credit or bank-card issued in the name of
any Corporate Defendant, or for which payment is guaranteed by any Corporate
Defendant. rhis ineludes, but is not limited to, any corporate bank card or corporate
credit card account held by any Corporate Defendant and fec which any Defendant or
Relief Defenclant is, or was on the date that this Order was signed, an authorized
signer; and

E. Cashing any checks or depositing or processing any payments from consumers
clients, or customers ofany Defendam;

PROVIDED that the funds, property, and assets affected by this Seetion shall include all

' assets of all Stipulating Defendants: (l) existing as of the date this Order was entered; 01(2)
acquired after entry of this Order from any activity that is the subject of, or is prohibited by,
this Order. Notwithstanding the foregoing. ReliefDefendants shall be permitted to withdraw
and pay for reasonable and necessary attomey‘s fees for the representation of Stlpulacing

Defendants in this matter- Said withdrawals may only be made from their respective

Qua]ified Retiremenf Pllns. Qualified Retirement Plans are defined as, and limited to, (l)

Robert Guiee’s Merrill Lynch Retirement Aeeount number ending in 4A10; and (2) 'l`imothy

Woods’ AT&T Bell South Savings & Secu_rity Flan, account number ending in **75. The

corresponding payments from the Qualit`red Retirement Plen shall be made payable only to

counsel for Stipulating Defendants and shall not be used for any other purpose Funher,

Reliet' Det'endants shall not make new deposits to their respective Qualified Ketirement P|ans

and Relief Defendant Robert Guice shall not be permitted to allow his Qualif`red Retirement

Plan balance to be less than $l,000.00 until flmher Order of`t.lris Coun.”

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VI. norms or Howt:ns OF DEFENoANTs' ANn Rrrt.mr Dapcnnmrs' Assr.rs

lt is FURTHER ORDERED that any Person that: (a) is served with a copy of this Order
or has actual or constructive knowledge of this Ordor; and (b) holds, controls or maintains
custody cf, or has held, controlled, or maintained custody of at any time since lanuary 20l l, any
account or asset (including reserve funds held by payment processors. credit-card processors
payment merchant banks acquiring banks, independent sales organizations third-party
processors payment gateways, insurance companies or other mtities) of any Stipulating

Defendant, Relief Defendant, or any corporationl parmership, asset protection trust, or other

entity that is directly or indirectly owned managed. or controlled by any Stipulating Defendant

or Relief Defendent, or of Which any Stipulating Defendant or Relief Defendant is an oflicer.
dlreotor, manager, or member shall:

A. Hold and retain within its control and prohibit the withdrawal, removal, assignment
tmnsl`er, pledgo, encumbrance, disbursemmt, dixsipation. relinquishment, conversion
sale, liquidation or other disposal of any such accounts or assets, as well as all
documents or other property related to such accounts or assets;

B. Der\y any Person, except the Receiver. access to any safe deposit box, Commercial mail
box, or storage facility that is titled in the name of any Stipulatlng Defendant, either
individually or jointly, or otherwise subject to access by any Defendant or Relief
Dafendam;

C. Provide Plalntiffd‘ counsel and the Rccciver, within five (5) days of receiving a copy of
this Order, a swom statement setting forth:

l'. the identification number of' each such account or asset;

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2. the balance of each such account, or a description ofrhe nature and value of each
streit asset as of the close of business on the day on which this Ordor is served
and, if the account or asset has been closed or rernoved. the date closed or
removed, the total hinds removed in order to close the aocount, end the name of
the Perscn or entity to whom such account or asset was remitted; and

3. the identification of any safe deposit bcx, commercial mail box, or storage
facility that is either titled in the neme, individually or jointly, of any Stipuletlng
Deibndent. or is otherwise subject to access by any Stipulating Defendant; and

D. Within five (5) days of a request from any Piainliff or the Receiver, promptly provide
l’laintifls and tire Receiver with copies of all records or other documents pertaining to
such account or asset, including originals or copies of account applications, account
statements, signature cards, checks, dmhs, deposit tickets, transfers to and from the`
accounts, including wire transfers and wire transfer instructions all other debit and credit
immunents cr slips, currency transaction reports, l099 i`onns, and ali logs and records
pertaining to such safe deposit boxes, commercial mail boxes, and storage facilities;

E. Plaintiffs may properly serve this Ordcr by facsimile transmission hand delivery, or
overnight carrier. This Section shall apply to existing accounts and assets, assets
deposited or accounts opened after the effective date of' this Order, and any accounts or
assets rrrtrlntainetil held. or controlled since .lar_ruary 201 l. This Section shall not prohibit
transfers in accordance with any provision of this Order, any further order of the Court,

or by written agreement of the parties

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le. YiNANcIALREPoR'rs

It is FURTHER ORDERED that each Stipulating Defendant, within five (S) days of
service of this Ordcr upon them, unless previoust submitted in full compliance with the
TRO, shall prepare and deliver to Counsel for Plaintiffs and tim Receiver, a completed
financial stamment, accurate as ot‘ the date of entry of this Order, on the forms served on
Dcfendanw with this Order for individual Dcf`ondants, signed under penalty of pcrjury.

The financial statements shall include assets held outside the territory of the United
Smtes, and shall be verified under oatl\. Stipulating Defendants shall attach to these
completed financial statements copies of all local, stato, provincial, and federal income and
property tax retums, with attachments and schedules, as called for by the instructions to the

financial statements.

vIlI. CoNsuMap. Cncnrr Rsronrs

lt is FURTHER ORDERED that Plaintiffs may obtain credit reports coneeming any
Stipulating Defendant pursuant to Section 504(e)(l) of the Fair Crcdit Reporting Act, 15
U.S.C. § 1681b(a)(l), and rhar, upon written requesc, any credit reporting agency from which

§uch reports are requested shall provide them to P|aintiffs.
Di’.. FoRz;IGN Assz'r RzPA'rmAnoN

lt is FURTHER ORDERED that within Hve ($) days following the service of this
Order, each Stipula.ting Defendant shall:
A. vaide Plaintiffs and the Receiver with a full accounting verified under oath and

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accurate as of the date of this Order, of all documents and assets located outside of
the United States of America that are held by or for any Stipulating Det`endant or are
underany Stipulating Defendant’s direct or indirect control, jointly, severally. or
individually, including the names and addresses of any foreign or domestic
financial institution or other entity holding the documents and assets, along
with the account numbers and balances;

B- Provide Plaintitfs and the Receiver access to all records of accounts or assets of any
Stipulating Defendant held by Persons located outside the United States by signing
and delivering re Pninnfe' counsel and the weaver the consent co Rei¢ase cf
Financial Records attached to the ‘I`RO; and

C. Transfer to the United States and deliver to the Receiver all funds, documents, and
assets located outside of the United States of America that are held by or for any
Stipulating Dcfendant or are under any Stipulating Defendant’s direct or indirect

control, jointly, severally. or individually.

X. PioN-lmnrcrtznce wrrn Rcra'rm'rloN

lt is FURTHER ORDERED that Stipulating Defendants, and their Representatives,
whether acting directly or indirectly, are restrained and enjoined from taking any aetion,
directly or indirectly, that may result in the encumbrance or dissipation of foreign assets, or
in the hindrance of the repatriation required by Section IX ofthls Order, including:
A. Sending any communication or engaging in any other aet, directly or indirectly, that

results in a determination by a foreign trustee or other entity that a “duress" event has

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occurred under the terms of a foreign trust agreement until such time that all assets
have been fully repatriated pursuant to Section lX of this Order; or

B. Notifying any trustee, protecmr, or other agent of any foreign trust or other related
entities of either the existence of this Order, or of the fact that repatriation is required
pursuant to a court order, until such time that all Stipulating Defenda.nts’ assets have

been fully repatriated pursuant to Section lX of this Order.
xL PRBS$RVAT[ON OF RECORDS

iris FURTHER ORDERED that Stipulating Defendants, and their Represenu\tives,
whether acting directly or indirectly, are restrained and enjoined from:

A. Destroying, erasing, falsifying, writing over, mutilating, concealing, altering,
transferring or otherwise disposing of, in any manncr, documents, including
electronically stored materials, that relate to: (l) the business, business practiccs,
assets. or business or personal finances of any Det`endanc, Keliet Defendant, or any
entity directly or indirectly under the control of any Defendant or Relief Defendant;
(2) any webpagc or website opereted, in whole of in part, on any Defendants‘ behalf;
and _(3) any electronic communication sent or received by Det’endants or Relief
Defendants; and

B. Failing to create and maintain documents that, in reasonable derail, accurately, fairly,
and completely redact Defendants’ and Relief Defendants’ ineornea. disbmsernents,

transactions, and use of Defendants‘ and Kelichefendants’ assets.

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XII. Rnrom' OP an Bt)slNEss Acrrvm'

lt is FURTHER ORDERED that Stipulating Defendants and their Representatives,
whether acting directly or indirectly, are restrained and enjoined from creating, operating, or
exercising any control over any new business entity, whether newly formed or previously
inactive, including any partnership, limited partnership, joint venture, sole proprietorship, or
eorporation, without first providing counsel for Plaintiffs with a written statement disolosing:
(l) the name of the business entity; (2) the address and telephone number of the business
entity; (3) the names of the business entity's ofticers, directors, principa|s, managers,
members. and employees; and (4) a detailed description of the business cntity's intended

activities.
XIII. PROHIB!T!ON ON RELEASE OF CONSUMER INFORMATION

lt is FURTHER ORDERED that Stipulating Defendmts and their Representatives,
whether acting directly or indirectiy, are restrained and enjoined from directly or indirectly
disclosing, using, or benefitting from customer inforrnation, including the name, address,
telephone number, credit card number, bank account number, email address, or other
identifying informationl or any data that enables access no a customer’s account (including a
credit eard, bank account, or adler financial aceount), that any Det'endent obtained prior to
entry of this Order in connection with am activity that pertains to Debt-Reliet` Services;
provided, however, that Sn'pulating Defendants may disclose such identifying information to

a law enforcement agency or as required by any law, regulation or court order.

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XIV. PRovlsloN OF INFORMArroN To chzrvl-:R

ll is FURTm-:R oRnERED net stipulating Defendma shall prevails w the R¢eeiver,

inunedlafely upon request, the following

A A list of all assets and property, including accounts, of Corperate Defendants that are
held in any name other then the name cfa Corporate Defendant, or by any Person other
then a Corporete Defendant; and

B. A list of ali agelm, empioyees, officers, directots, managers, members, or those Persons
in active concert end participation with Defendants, who have been associated or done
business with Corporate Defendants. Such list should include every entity that provides

leads to Corporate Defendants.
xv. Cool>sm\'rlon Wmt 'l'mr REcl-:IVBR

it is FURTHER ORDERED that Stipl.\ioting Defondants, and their kopresentatives, and
any other Person served with a copy of this Order shell fully cooperate with and assist the
Receiver in taking and maintaining possession, custody, or control of the assets and documents of
Corporate Defendants. 'I`his cooperation and assistance shall include. but not be limited to: (A)
providing information to the Receiver that the Receiver deems necessary to exercise the authority
and discharge the responsibilities of the Receiver under this Order; (B) providing any password
required to access any computer, electronic file, or telephonic data in any medium; (C) advising
all Persons who owe money to Corporate Defendants that ali debts should be paid directly to the .
Reeeiver; and (D) transferring funds at the Reeeiver’s direction and producing records related to
the assets of Corporate Defendants. The entities obligated to cooperate with the Receiver under
this provision include, but are not limited to, lhanlts, broker-dealers, savings and loans, escrow

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agents, title cornpenies, commodity trading companies. precious ~mete.ls dealers, credit card
processors, payment prooessors, merchant banks, acquiring benks. independent sales
organizations third party processors payment gateways, insurance cornpanles, and other
financial institutions and depositorles of any klnd, as well as all common carriers,

telecommunications companios, and third-party billing agents
XVI. NoN-INrmFl»;Rl-:Ncn er Tnz RBCEWER

lt is FURTHER ORDERED that Stipluloting Defondants, and their Representatives,
whether acting directly or indirectly, and all other Persons are restrained and enjoined from:

A. lnterfering with the Reoeiver's efforts to menage, or take eustody, control, or
possession of, the assets or documents subject to this receivership;

Transacting any ofthe business of Corporate Defendancs;

C. Transferring, receiving aitering, selling, encumbering. picdging, assigning7
liquidating or otherwise disposing of any assets owned, controlled, or in the
possession or custody of, or in which an interest is held or claimed by. Corporate
Defendants; and

D. Reflising to cooperate with the Receiver or the Rccciver’s duly authorized agents in

the exercise of their duties or authority under eny order of this Court.
XVII. Drs'rnmv'rloN Ol-‘ ORDER BV_DRFENBANTS

lt is FURTHER ORDERED that Stipuleting Dofendants shall immediately provide a
copy of this Order to each of their effiiiates, 'l'elemerketers, customer service agents, sale
agents, distributors, subsidiaries, aucoeesors, assigns, officers, directors, members, managers

employees, independent contrectors, client companies, agents, spouses, and attorneys. as well

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as to any other Person who participates in Defendents’ marketing advertising. promotion
distribution offer for srio, or me or oebi-R¢iier Pmdn¢rs or sewieos. within eve (5)
calendar days following entry of this Order, Stipuleting Defendanm shall file with this Court
and serve on Piainriffs an af&davit identli§/ing the name, title, address, telephone numbers,
date of service, and manner of service of the persons and entities Stipulating' Defendants have

served with a copy of this Order in compliance with this provision.
XVlII. Exrevm»:n DiscovERY

lt is FURTHER ORDERED that, nomithsmnding the time periods, notice
provisions, and other requirements of Federel Rules cf Civii Procedure 26(d), 26(!‘),
so(a)(zy(A), md siia)(zxA), and pursuant w moral notes of civil Pmc¢dur¢ so(a), 34, and
45, Plaintiffs end the Receiver are granted leave, ar any time after entry of this Order, to
conduct limited expedited discovery as to parties and non-parties for the purpose of
discovering (l) the nature, location, stetus, and extent of Stipulating Dei'endants' assets; (2)
the nature and location of documents reflecting Stipule_ting Defendents' businesses, business
transactions, md operations (3) the telecommunications providers that Defendants utilize re
conduct the practices alleged in Plaintiffs‘ complaintl (4) Stipuleting Defendants` afiiliatee
and subsidiaries; (5) the nature and location of any premises where Defendents. directly or
through any third party, conduct business operations; (6) Defendants' whereabeu\s; (7) the
applicability of any evidentiary privileges to this aetien; or (8) compliance with this Order.

The limited expediwd discovery set forth in this Secticn shall proceed as follo\vs:

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A. Pisintifi's and the Reoeiver may, on seven (7) days’ notice, take tire deposition of any
Person. whether or not a porty, in any judicial district Depositions may be conducted
teiephonicslly, by videoconferencing, or in person. Deposition transcripts that have not
been signed by the witness may be used at the preliminary injunction hearing in this
matter.

B. Piaintlfi"e and the Receiver may serve interrogatories upon Stipulating Det`endents and
Stipulating Defendnnts shell respond within ton (lo) days after Pleintifl’s serve such
interrogatories

C. P|slntii!`s and the Receiver may, upon ten (l D) days’ notice, including through the use of
a Rule 45 subpoena, demand the production of documents from any P'erson,; whether or
not a party, provided that seven (7) deys’ notice shall be deemed suchth for the
production of any such documents that are maintained or stored only in en electronic
format

D. For purposes of discovery pursuant to this Section, service shall be sufficient if made by
facsimile, by email, or by overnight oourier.

E. Any expedited discovery taken pursuant to this Section is in addition to, and is not
subject to, the limits on discovery set forth in the Fedcral Rules of Civii Procedure and
Locai Rulee ofthis Court

F. The expedited discovery permitted by this Section does not require c meeting or

conference ofthe parties, pursuant to Fedcrni Ru]ee of Civil Procedure 26{d) and (f).

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Jun.ll. 20l6 ll:iOPM No.432| ?. 22

XIX. Sr~:nvrce OF Tms ORDER

lt is FURTHER ORDERED that copies of this Order may be served by U.S. First Class
`Mail, overnight dcliv¢ry, faceimile, mil, or personal scrvico, by agents or employees of
Plaintifl"s, by agents or employees of the Recoivcr, by any law enforcement agency, or by private
process secver, upon any Person that may have possession, custody, or control of any property,
property right, dooument, or asset of any Stipulating Dcf`ondsnt, or that may be subject to any
provision of this Order. Scrvice upon any lunch or of’Frce of any financial institution or entity

shall effect service upon the entire financial institution or entity.
XX. CoRREerNDnNcE AND Szuvlcl: ON Pt,AtN‘nFFs

lt is FURTHER ORDERED that, for the purpose of this Order, because mail
addressed to the I-"I`C is subject to delay due to heightened security screening all
correspondence and service of pleadings on the FIC shall be sent either via electronic

transmission or via Foderal Bxpress to; d
Tejasvi M. Srirnushnem (tsrimushnam@ftc.gov)
Joshua A. Doan (jdoan@hc.gov)

Fedenl Tradc Cornmieeion

600 Pennsylvanin Avenue NW

Mail Stop CC»8563

Washington, DC 20580

(202) 326-2939 (Srlmuahnam phonc)

(202) 326-3187 (Doan phone)

(202) 326~3395 (fax)

Any correspondence papoxs, and pleadings related to this order must be served upon
the State of Florida by overnight ma|l, electronic mall, courier delivery, or facsimile to:
J€finltbr Knutton (jennilbr.knutton@myfloridalegal.com)

Denise Beamer (denisebeamer@mynoridalegal.com)
Office of the Attomey General

” <D @/

 

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Consumer Promction Division

135 West Cen!ral Boulevani, Suitc 670
Orlando, Plorida 32801

Tolephono: (407) 316-4840

I~`ax: (407) 245-036$

XX.I. RETENT!ON OF JURISD]CUON

lt is FURTHER ORDERED that this Court shall retain jurisdiction of this matter for

all purposes.

DONE and ORDERED in Orlando, 'da on this :"O th ofJune,2016.

/
KMMU]QS E."Mendom

 

 

 

Uniced States Dlstrict Judge |
Middlc District of Florida

SO STIPULATED:

ATTORNEYS FOR PLAINTIFFS

Dated: Juno __, 2016. R¢spccti\)lly su mittcd,

DAV]D C. S NKA

qaij Counsc,
\':M'
jas,\iiM. S` ukhnam
'r¢\: (202) 32 -2959
B-mail: tsrimus 'nam@hc.gov

Joshua A. Doan
’I`el: (202) 326-3187
E-mail: jdoan@ftc.gov

Federal Trado Commission
600 Pennsylvanla A\'e., NW, Mail Stop H-286

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Washirlp;on, DC 20580
Fax; (202) 326_3395

Attomeys for Plaintiff
FE.`DBR.AL TR.ADE COMMISS{ON

Dated: Juncz_z_, 2016. PAMBLA JO BOND!
- Atlorney General
Smtc of P`lorida

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J n. r Hiu Knutton
Assis am Attomey Gcnoral
Fio!'ida Bar # _9277!
Bma{t: Jannifcc.!{.nucton@myflorida¥cga¥.com

Denlse Ecam<=r

Assistaut Attumr:y Gencral

Flu]‘[da Bm‘ #693 69
Dcnisc.Beamcr@myHoridu[cgal.oom

Omce ofthe Attorney Gen¢ra!
Cousumor Pv:)teot_ion Division
135 W. Cent\'al Blvd., Suite 670
Orlando, I-`|oric!a 3280!
Telephone: (407) 316~4840
Paosimi[e: (407) 245-0365

Attomeys for Plaiutiff

OFFICE. OF THE A'I"[`ORNEY GENERAL,
STATE OF FLORIDA.,

DEPARTMENT OF LEGAL AFFAIRS

 

ATTORI~IEYS FOR sTIPULATB~IG I>EFENDANTS
KEVIN GUICE, RQBERT GUICE AND 'rrMo-THY wo D$_ ,

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Date: June’!f?,/ZOI 6 aj "j'/ L J\

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Flor¢'da Bar `No. 5621 12

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Covc & Associatcs, P-A.
225 S 21st’ A\'cnue
Hollywood, FL 33020
Telephone: 954-'921-1 121
Fax: 954~921~!621
anc@covelaw.ocm

sIIPULATING nEFEI~m mrs
mm GUICE, ROBERT GUICE, mo meron woo
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/KE\/!N GUICB, wmale

   

Dat'ed: J'une CQF_, 2016.

 

Dafed: June .__, 2015.

 

RoB-ERT GUICE, individualry
/Z%:,M 3

TLWOODS, individuany

 

Dated: June.gl, 2016.

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